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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF LOUISIANA


MICHAEL SWYMN, VIKING ANIMATION                               )
& CONSULTING, L.L.C.                                          )
                                                              )
               Plaintiff                                      )
                                                              )
v.                                                            ) JURY TRIAL DEMANDED
                                                              )
DJI TECHNOLOGY INC.                                           )
SZ DJI TECHNOLOGY CO. LTD. &
SHENZEN DAJIANG BAIWANG TECHNOLOGY CO. LTD

               Defendants


                       COMPLAINT FOR REDHIBITORY DEFECTS

       Plaintiff Michael Swymn, Viking Animation & Consulting, LLC, by and through their

attorneys, hereby file this complaint against Defendants DJI Technology Inc, SZ DJI Technology

Co. Ltd, and Shenzen Dajiang Baiwang Technology Co. Ltd (Collectively “DJI”) and allege as

follows:


                                  NATURE OF THE ACTION

       1. The seller warrants the buyer against redhibitory defect, or vices in the thing sold. A

defect is redhibitory when it renders the thing useless. LA C.C. Art. 2520. A seller who knows that

the thing he sells has a defect but omits to declare it, or a seller who declares that the thing has a

quality that he knows it does not have is, is liable to the buyer for the return of the price with

interest from the time it was paid, for the reimbursement of the reasonable expenses occasioned

by the sale and those incurred for the preservation of the thing, and also for damages and reasonable

attorney fees. A seller is deemed to know that the thing he sells has a redhibitory defect when he

is a manufacturer of that thing. LA C.C. Art. 2545




                                             PARTIES

       2. Plaintiff Viking Animation and Consulting, L.L.C. is a Louisiana limited liability

company with a principal place of business at 42035 Yokum Rd Ponchatoula, Louisiana 70454.

Represented by Agent and Officer Michael Swymn.

       3. Defendant DJI Technology Inc. is a California corporation with its principal place of
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business at 201 S. Victory Blvd., Burbank, California, 91503. DJI Technology Inc.

       4. Defendant SZ DJI Technology Co., Ltd. is a Chinese corporation with its principal

place of business at 14th Floor, West Wing, Skyworth, Semiconductor Design Building, No. 18

Gaoxin South 4th Ave. Nanshan District, Shenzhen, China. On information and belief, SZ DJI is

responsible for the research and development of DJI branded products sold in the United States.

       5. Defendant Shenzhen Dajiang Baiwang Technology Co., Ltd. hereinafter referred to as

“SZ DJI Baiwang” Is a Chinese corporation with its principal place of business at building

9,7,2,1, Baiwang Creative Factory No. 1051, Songbai Road, Xili, Nanshan District, Shenzen,

China. DJI Baiwang is responsible for the manufacturing of the DJI products.



                                  JURISDICTION AND VENUE

       5. This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§1332. The parties

are of complete diversity and the claims exceed $75,000.00.

       6 This Court has personal jurisdiction over DJI because, directly or through an

intermediary, or agent, each Defendant has committed acts within Louisiana giving rise to this

action and has established minimum contacts with Louisiana such that the exercise of each

jurisdiction would not offend traditional notions of fair play and substantial justice. Each

Defendant knowingly introduces into the stream of commerce products and/or components of

products into the state of Louisiana.

       7. For example, Defendants have partnered with over 100 retail stores located in the state

of Louisiana, including but not limited to, Wal-Mart, Apple Store, Best Buy, and Sam’s Club.

Please see map from the official DJI website attached hereto as Exhibit “1” showing where

certified sellers of DJI drones can be found in the state of Louisiana. In addition, the plaintiff in

this matter purchased all of his DJI drones and attachments from Copter Source, LLC 10902

Interstate 10 East Baytown, TX 77523. According to DJI.com, Copter Source, LLC is a DJI

Authorized Retail store. Please see map from DJI.com attached hereto as Exhibit “2”. Copter

Source, LLC is the closest DJI Retail store to Louisiana. Coptersource.com contains the

following in its “about” section “not a far drive and easy highway access for all Drone

Enthusiasts in Austin, Houston, San Antonio, and our neighbors in Louisiana.” Please see copy

attached hereto as Exhibit “3”.
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        8. On information and belief, SZ DJI designs and manufactures the products and places

them into the stream of commerce via an established distribution channel with the knowledge

and expectation that such products would be sold in this District. DJI’s website says

“headquarters in Shenzhen, widely considered China’s Silicon Valley, DJI benefits from direct

access to the suppliers, raw materials, and young, creative talent pool necessary for sustained

success.” In addition, it says, “our wholly owned subsidiary Shenzhen Daijiang Baiwang

Technology Co., Ltd. is a high-tech manufacturing facility specializing in unmanned aerial

vehicles.”

        9. On information and belief, all Defendants act in concert as a single entity to develop,

manufacture, distribute, import, and sell DJI Drones. Each Defendant has derived substantial

revenues from this District.

        10. Venue is proper for DJI Technology Inc. under 28 U.S.C § 1391 (d) Corporations that

have “contacts” with a state that has more than one federal district, Corporation will be deemed

to reside in any federal district in which the corporation has sufficient minimum contacts with a

district. Defendant has minimum contacts throughout the state as well as markets and derives

profits from the district in question.

        11. Venue is proper for SZ DJI Technology Co. Ltd and SZ DJI Baiwang Technology

Co., LTD under 28 U.S.C § 1391 (c)(3), which provides a defendant not residing in the United

States may be sued in any judicial district.



                                         FACTS OF THE CASE

        12. Petitioner, Michael Swymn purchased a M 600 D-RTK System, M600 LiPo Sets,

Matrice 600 Pro RoninMX, Hasselblad A6D Combo, M600 D-RTK System case, LiPo Sets

Chargers and Heavy Lift Upgrade, LiPo Sets, Emlid RTK from defendant on the following dates:

1/4/2018, 1/31/2018, 3/21/2018, and 7/24/2018 for a total price of Forty-six Thousand Seven

Hundred Fifty-Four Dollars and 34/00 ($46,754.34). Attached herein as Exhibit “4”.

        13.Petitioners purchased the aforementioned items for the purpose of producing high

resolution photographs, surveys, and fly over videos for chemical, natural gas, and petroleum

refineries.

        14. On July 28th, 2018 Plaintiff was to perform surveying and imaging at Limetree Bay
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Terminal in St. Croix, USVI for Jacobs Engineering Group INC. Attached herein as Exhibit “5”

is the contract agreed upon on July 3, 2018 and revised on July 12, 2018 detailing the agreement

for the UAV Services.

       15. On July 28th, 2018 the plaintiff while performing the above contracted work at

Limetree Bay Terminal in St. Croix, USVI, experienced the following incident resulting the

destruction of the drone and the loss of the contracted work. The drone was set to perform a

survey of the refinery using “Waypoint” technology. Waypoint GPS navigation allows a drone to

fly on its own with its flying destination or points pre-planned and configured into the drone

navigational software. The drone is supposed to rise vertically to the necessary altitude for

proper imaging, then begin moving horizontally between the waypoints. After successful

missions on the first day of the project, however on the second day of the project the drone did

not rise vertically to the necessary mission prescribed altitude before moving horizontally. The

drone rose and moved towards Waypoint 1 at a horizontal angle, colliding with a vessel at the

refinery. After colliding with the vessel, the drone fell to the ground, where the battery burst into

flames. This was not caused by user error, but was a hardware or software issue according to the

defendants. Please see emails with DJI attached herein as Exhibit “6” Luckily, the refinery was

not operating at this time, preventing a possible larger catastrophic event. The drone was

damaged to the point of non-repair from colliding with the vessel, the ground, and subsequently

the battery fire. Please see accident report attached herein as Exhibit “7”

       16. The drone’s defects render it useless for its intended purpose(s) and petitioners would

not have purchased said item from the defendant had the vices been known at the time of purchase.

A demand letter was forwarded to the defendant on April 16, 2019 by certified mail and a response

was mailed to petitioners on May 6, 2019. The response was in effect a denial of any claim against

defendant and did not settle the issue(s).

       17.Petitioners pray for a rescission of the sale(s).

       18. In an addition to the rescission, petitioners ask to be compensated for the damages they

have sustained following purchasing the drone that are directly attributable to the underlying

complaint made herein. Specifically, petitioner was unable to complete the contract attached herein

as Exhibit “5” they did not receive any of the ($228,856.00) payment due because they could not

complete the job. In addition, Petitioners were forced to withdraw from already agreed upon

contracts to perform substantially similar work totaling ($6,000.00), proof of which is attached

herein as Exhibit “8”. Petitioner was forced to turn down a project expected to be worth

($250,000.00), proof of which is attached herein as Exhibit “9”. Petitioners can show further
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compensable damage due unto them by defendant at trial in this matter.




        Defendant is liable to petitioner for his claims and damages as set out herein above plus

reasonable attorney’s fees and costs of these proceedings, the total of which exceeds $75,000.00.


        WHEREFORE, PETITIONERS, MICHAEL SWYMN and VIKING ANIMATION

& CONSULTING, LLC , PRAY that after all legal delays have elapsed, that a judgment is

entered in their favor and against defendants, DJI Technology Inc. and SZ DJI Technology Co.

Ltd., for rescission of the underlying sale, for damages as set out hereinabove, attorney’s fees,

special damages, legal interest, costs, and all general and equitable relief.



                                               JURY DEMAND

                Pursuant to Rule 38(b) of the federal Rules of Civil procedure for the United States

District Courts, Plaintiffs request a trial by jury on all triable issues.



                                                         Respectfully submitted:


                                                 S/ Ryan J Williams_____________________
                                                        RYAN J. WILLIAMS
                                                        Drake Law Firm, LLC
                                                        154 West Pine Street
                                                        Ponchatoula, Louisiana 70454
                                                        (985) 386-7600
                                                        Bar No. 38442


                                                          Attorney for Plaintiffs
                                                          Viking Animation and Consulting, L.L.C.,
                                                          Michael Swymn
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               Defendants


                                         VERIFICATION


BEFORE ME, the undersigned authority, personally came and appeared:

                                       MICHAEL SWYMN

Who, after being duly sworn, did depose and say that he is the Independent Administrator in the
above foregoing matter; that this Petition for Redhibitory defects is true and correct to the best of
his knowledge, information and belief.

                                                      ______________________________
                                                      MICHAEL SWYMN


SWORN TO AND SUBSCRIBED
BEFORE ME, THIS ____ DAY OF
____________, 2019

____________________________
NOTARY PUBLIC (#156565)
